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~ PUBLIC ACTS

OF

THE LEGISLATURE

OF THE

STATE OF MICHIGAN

PASSED AT THE

REGULAR SESSION OF 1927

CONTAINING JOINT RESOLUTIONS AND AMENDMENTS
TO THE CONSTITUTION

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Smet

Haman NE eure

COMPILED BY

JOHN S. HAGGERTY

SECRETARY OF STATE

LANSING, MICHIGAN.
ROBERT SMITH CO., STATE PRINTERS,
1927.

EXHIBIT “S”

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PUBLIC ACTS, 1927—No. 372. 887

other purpose. Such persons shall hold office during the term
of their employment by the state highway department but
the authority herein vested shall cease upon tbe termination
of such employment. The persons so appointed shall hy
reason of such appointment be members of the department
of public safety during the terms of such appointment but
shall serve without pay as members thereof.
Approved June 2, 1927.

(No. 372.]

AN ACT to regulate and license the selling, purchasing, pos-
sessing and carrying of certain firearms; to prohibit the
buying, selling or carrying of certain firearms without a
license therefor; to prohibit the possession of certain
weapons and attachments; to prohibit the pawning of cer-
tain firearms; to prohibit the sale, offering for sale, or
possession for the purpose of sale of written or printed
matter containing any offer to sell or deliver certain fire-
arms or devices within this state; to provide penalties for
the violations of this act, and to repeal act number two
hundred seventy-four of the public acts of nineteen hundred
eleven, being sections fifteen thousand two hundred thirty-
six, fifteen thousand two hundred thirty-seven, fifteen thou-
sand two hundred thirty-eight, fifteen thousand two hun-
dred thirty-nine, fifteen thousand two hundred forty, fif-
teen thousand two hundred forty-one, fifteen thousand two
unundred forty-two, fifteen thousand two hundred forty-
three, fifteen tbousand two hundred forty-four, fifteen
thousand two hundred forty-five and fifteen thousand two
hundred forty-six of the compiled laws of nineteen hundred
fifteen; act number three hundred thirteen of the public
acts of nineteen hundred twenty-five; and section sixteen
of chapter one hundred sixty-two of the revised statutes of
eighteen hundred forty-six, being section fifteen thousand
six hundred forty-one of the compiled laws of nineteen hun-
dred fifteen.

T'he People of the State of Michigan enact:

Section 1. The word “pistol” as used in this act shall words
mean any firearm, loaded or unloaded, thirty inches or legs in “SNe.
length. The word “purchaser” shall mean any person who
receives a pisto) from another by purchase, gift or loan. ‘The
word “seller” shall mean any person who sells, furnishes,
loans or gives a pistol to another.

Sec. 2. No person shall purchase a pistol as defined in License

this act without first having obtained a license therefor as Pcfors

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PUBLIC ACTS, 1927—No. 372.

To whom
granted.

Executed
in duplicate.

Misde-
meanor;
penalty.

Unlawful to
manufacture,
ets., certain
firearms, etc.

Pennlty for
violntion.

prescribed herein. The commissioner or chief of police, or
his duly authorized deputy, in incorporated cities or in in-
corporated villages having an organized department of police.
and the sheriff, or his authorized deputy, in parts of the re-
spective counties not included within incorporated cities or
villages, are hereby authorized to issue licenses to purchase
pistols to applicants residing within the respective territories
herein mentioned. No such license shall be granted to any
person except he be nineteen years of age or over, and has
resided in this state six months or more, and in no
event shall such a license be issued to a person who has been
eonvicted of a felony or adjudged insane in this state or else-
where. Applications for such licenses shall be signed by the
applicant under oath upon forms provided by the commis-
sioner of public safety. Licenses to purchase pistols shall
be executed in duplicate upon forms provided by the com-
missioner of public safety and shall be signed by the licensing
authority. One copy of such license shall be delivered to the
applicant and the duplicate of such license shall -he retained
by such licensing authority as a permanent official record for
a period of six years. Such license shall be void unless used
within ten days after the date of its issue. Any person who
shall sell to another any pistol as defined in this act without
complying with the requirements of this section shall be
guilty of a misdemeanor and upon conviction thereof shall
be punished by a fine of not more than one hundred dollars
or imprisonment in the county jail not more than ninety days.
or both such fine and imprisonment in the discretion of the
court. Such license shall be signed in ink by the holder
thereof in the presence of the person selling, loaning or giving
a pistol to such licensee and shall thereupon be taken up by
such person, signed by him in ink and shall be delivered or
sent by registered mail within forty-eight hours to the com-
missioner of public safety. The seller shall certify upon said
license in the space provided therefor the name of the person
to whom such pistol was delivered, the make, style, calibre
and number of such pistol, and shall further certify that such
purchaser signed his name on said license in the presence of
the seller. The provisions of this section shall not apply to
the purchase of pistols from wholesalers hy dealers regularly
engaged in the business of selling pistols at retail, nor to the
sale, barter or exchange of pistols kept solely ag relics, sou-
venirs or curios.

Sec. 3. It shall be unlawful within this state to manu-
facture, sell, offer for sale, or possess any machine gun or
firearm which can he fired more than sixteen times without
reloading, or any mufiler, silencer or device for deadening or
muffling the sound of a discharged firearm, or any bomb or
bombshell, or any blackjack, slung shot, billy, metallic
knuckles, sandclub, sandbag or bludgeon. Any person con-
victed of a violation of this section shall be guilty of a felony
and shalt be punished by a fine not exceeding one thousand

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PUBLIC ACTS, 1927—No. 372. 889

dollars or imprisonment in the state prison not more than five
years, or by both such flne and imprisonment in the discre-
tion of the court. The provisions of this section shall not
apply, however, to any person, firm or corporation manufac-
turing firearms, explosives or munitions of war by virtue of
any contracts with any department of the government of the
United States, or with any foreign government, state, munici-
pality or any subdivision thereof.

Sec. 4. Any person who, with intent to use the same un- Felony,
lawfully against the person of another, goes armed with a deemed.
pistol or other firearm or dagger, dirk, razor, stiletto, or knife
having a blade over three inches in length, or any other dan-
gerous or deadly weapon or instrument, shall be guilty of a Penalty. .
felony and on conviction thereof shall be punished by a fine
not exceeding one thousand dollars or imprisonment in the
state prison for not more than five years, or by both such
fine and imprisonment in the discretion of the court.

Sec. 5. No person shall carry a dagger, dirk, stiletto or Unlawful to
other dangerous weapon except hunting knives adapted and Gaegér “cic.
carried as such, concealed on or about his person, or whether
concealed or otherwise in any vehicle operated or occupied
by him, except in his dwelling louse or place of business or
on other land possessed by him. No person shall carry a
pistol concealed on or about his person, or, whether concealed
or otherwise, in any vehicle operated or oecupied by him,
except in his dwelling house or place of business or on other
land possessed by him, without a-license therefor ag herein
provided. Any person violating the provisions of this section
shall be guilty of a felony and upon conviction thereof shall
be punished by a fine not exceeding one thousand dollars or
imprisonment in the state prison for not more than five years,
or by both such fine and imprisonment in the discretion of the
court,

Sec. 6. The prosecuting attorney, the commissioner or Concealea
chief of police and the commissioner of public safety or their [outing
respective authorized deputies in incorporated cities or in board.
incorporated villages having on organized department of
police, and the prosecuting attorney, the commissioner of
public safety or their authorized deputies, and the sheriff,
under-sheriff or chief deputy sheriff in parts of the respective
counties not included within incorporated cities or villages
shall constitute boards exclusively authorized to issne licenses
io carry pistols concealed on the person to applicants resid-
ing within the respective territories herein mentioned. The
county clerk of each county shall be clerk of such licensing
bourds, which hoards shall be known in law as “The Con-
cented Weapon Licensing Board.’ No such license to carry To whom
a pixtol concealed on the person shall be granted to any per. Hesnee,
xon except he be nineleen years of age or over and has resided
in thin state six months or over, and in uo event shall sueh
ficense be iasted untess it appears (hat the applicant has
good reason to fear injury to his person or property, or has

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PUBLIC ACTS, 1927—No. 372.

Chairman
of board.

Duration
of license.

When license
to expire.

When license
revoked.

other proper reasons, and that he is a suitable person to be
so licensed, and in no event to a person who has been con-
victed of a felony or adjudged insane in this state or else-
where. The prosecuting attorney shall be the chairman of
the said board, which shall convene at least once in each
calendar month and at such other times as they shall be
called to convene by the chairman. Such licenses shall be
issued only upon written application signed by the applicant
and on his oath and upon forms provided by the commissioner
of public safety. Such licenses shall issue only with the ap-
proval of a majority of said board and shall be executed in
triplicate upon forms provided by the commissioner of public
safety and shall be signed in the name of the concealed
weapon licensing board by the county clerk and the seal of
the circuit court affixed thereto. One copy of such license
shall be delivered to the applicant, the duplicate of said
license shall be retained by the county clerk as a permanent
official record for a period of six years, and the triplicate of
such license shall be forwarded to the commissioner of public
safety who shall fila and index licenses so received by him
and keep the same as a permanent official record for a period
of six years. Each license shall be issued for a definite period
of not more than one year, to be stated in the license, and no
renewal of such license shall be granted except upon the filing
of a new application. Every license issued hereunder shall
bear the imprint of the right thumb of the licensee, or, if
that be not possible, of the left thumb or some other finger of
such licensee. Such licensee shall carry such license upon his
person at all times when he may be carrying a pistol con-
cealed upon his person and shall display such license upon
the request of any peace officer.

Sec. 7%. All licenses heretofore issued in this state per
mitting a person to carry a pistol concealed upon his person
shall expire at midnight, December thirty-one, nineteen hun-
dred twenty-seven. |

Sec. 8. The licensing board herein created by section six
may revoke any license issued by it upon receiving a certificate
of any magistrate showing that such licensee has been con-
victed of violating any of the provisions of this act, or has
heen convicted of‘a felony. Such Ncense may also be revoked
whenever in the judgment of said board the reason for grant-
ing such license shall have ceased to exist, or whenever said
board shall fer any reasonable cause determine said licensee
to be an unfit person to carry a pistol concealed upon his
person. No such license shall be revoked except upon written
complaint and then only after a hearing by said board, of
which at least seven days’ notice shall be given to the licensee
either by pergonal service or by registered mail to his last
known address. The clerk of said licensing board is hereby
authorized to administer an oath to any person testifying
before such board at any such henring.

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PUBLIC ACTS, 1927—No. 372. 891

Sec. 9. On or before the first day of November, nineteen safety in-
hundred twenty-seven, any person within this state who owns 2ston,*
or has in his possession a pistol as defined in this act, shall,
if he reside in an incorporated city or an incorporated vil-
lage having an organized police department, present such
weapon for safety inspection to the commissioner or chief of
police of such city or village; if such person reside in a part
of the county not included within the corporate limits of
such city or village he shall so present such pistol for safety
inspection to the sheriff of such county. Any person owning
or coming into possession of a pistol) after the first day of
November, nineteen hundred twenty-seven, shall forthwith
present such pistol for safety inspection in the manner pro-
vided in this section. <A certificate of inspection shall there- Certificate
upon be issued in triplicate on a form provided by the com- '**¥°4
missioner of public safety, co: taining the name, age, address,
description and signature of the person presenting such
pistol for inspection, together with a full description thereof;
the original of such certificate shall be delivered to the regis-
trant; the duplicate thereof shall be mailed to the commis-
sioner of public safety and filed and indexed by him and kept
as a permanent official record for a period of six years, and
the triplicate of such certificate shall be retained and filed
in the office of said sheriff, or commissioner or chief of police.
as the case may be. The provisions of this section shall not
apply to wholesale or retail dealers in firearms or to collec-
tions of pistols kept solely for the purpose of display, as
relics, souvenirs, curios or antiques, nor to weapons heretofore
registered under the provisions of section eleven of act num-
ber three hundred thirteen of the public acts of nineteen hun-
dred twenty-five. Any person who fails to comply with the
provision of this section shall be guilty of a misdemeanor
and shall be punished by a fine not exceeding one hundred
dollars or imprisonment in the county jail not exceeding 3
ninety days, or by hoth such fine and imprisonment in the q
discretion of the court,

Sec. 10. No pawnbroker shall accept a pistol in pawn. Pistol not
Any person violating this section of this act shall be deemed accepted in
guilty of a misdemeanor and upon conviction thereof shall .
be punished by a fine of not more than one hundred dollars
or imprisonment in the county jail for not more than ninety
days or by both such fine and imprisonment in the discretion
of the court.

Sec. 11, No person shall wilfully alter, remove or obliter- aiteration
ate the name of the maker, model, manufacturer's number or PE Bite! un-
other mark of identity of any pistol. Vossession of any such
firearm upon which the number shall have been altered, re-
moved or obliterated, shall be presumptive evidence that such
possessor has altered, removed or obliterated the same. Any
person convicted under this section shall be punished by a
fine not to exceed five hundred dollarg or by imprisonment

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PUBLIC ACTS, 1927—No. 372.

exceptions
to act.

When un-
lawfully
possessed,

Forfeited to
state.

Certain
books, etc.,
unlawful to

sell, etc.

Penalty for
violation,

in the state prison not to exceed two vears or by both such
fine and imprisonment in the discretion of the court.

Sec. 12. The provisions of section two, three, five and nine
shall noi apply to any peace officer of the state or any sub-
division thereof who is regularly employed and paid by the
state or such subdivision, or to any member of the arniy,
navy or marine corps of the United States, or of organizations
authorized by law to purchase or receive weapons from the
United States or from this state, nor to the national guard or
other duly authorized military organizations when on duty
or drill, nor to the members thereof in going to or returning
from their customary places of assembly or practice, nor to a
person licensed to carry a pistol concealed upon his person
issued by another state, nor to the regular and ordinary trans-
portation of pistols as merchandise, or to any person while
carrying a pistol unloaded in a wrapper from the place of
purchase to his home or place of business or to a place of
repaiv ur back to his home or place of business, or in moving
goods from one place of abode or business to another.

Sec. 13. When complaint shall be made on oath to any
magistrate authorized to issue warrants in criminal cases
that any pistol or other weapon or device mentioned in this
act is unlaw fully possessed or carried by any person, such
magistrate shall, if he be satisfied: that ‘there is reasonable
cause to believe the matters in said complaint be true, issue
his warrant directed to any peace officer, commanding him to
search the person or place described in such complaint, and
if such pistol, weapon or device be there found; to seize and
hold the same as evidence of a violation of this act. :

Sec. 14. All pistols, weapons or devices carried or pos-
sessed contrary to this act are hereby declared forfeited to
the state.

Sec. 15. It shall be unlawful to sell or deliver within this
state, or to offer or expose for sale, or to have in possession
for the purpose of sale, any book, pamphlet, -cireular, maga-
zine, newspaper or other form of written or printed ‘matter
offering to sell or deliver, or containing an offer to sell or
deliver to any person within this state from any place without
this state any pistol or any weapon or device m-utioned in
section three hereof. The provisions of this section shall not
apply to sales of or offers to sell pistols at wholesale to per-
sons regularly engaged in the business of selling such pistols
at wholesale or retail, nor to sales or offers to sell such pistols
nade or authorized by the United States government or any
department or ageney thereof,

Ree, 16. Any person violating the provisions of section
fifteen of this act shall he deemed guilty of a misdemeanor,
and upon conviction shall be punished by a fine not to exceed
one hundred dollars or by imprisonment in the county jail
not fo exceed ninety days, or by both sneh fine and inyprison-
ment in the dixeretion of the court,

PUBLIC ACTS, 1927—No. 373.

oo Case 1:19-cv-00578-JM$-RT Document 92-20 Filed os/28/¢i Page 8 of 8 PagelD.847

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See 17. Act mumber two hundred seventy-four of the
public acts of nineteen liundred eleven, being sections fifteen
thousand two hundred thirty-six, fifteen thousand two hun-
dred thirty-seven, fifteen thousand two hundred thirty-cight,
fifteen thousand two hundred thirty-nine, fifteen thousand two
hundred forty, tifteen thousand two hundred forty-one, fifteen
thensand twa hundred forty-two, fifteen thousand two bun-
Sred forty-three, fifteen thousand two hundred forty-four,
fifteen thousand two hundred forty-five and fifteen thousand
two hundred forty-six of the compiled laws of nineteen hun-
dred fifteen; act number (three hundred thirteen of the public
acts of nineteen hundred twenty-five; and section sixteen of
chapter one hundred sixty-two of the revised statutes of
eighteen hundred forty-six, being section fifteen thousand six
hundred forty-one of the compiled laws of nineteen hundred
fifteen, are hereby repealed: Provided, however, That any
proceedings pending under any of said sections herein re-
pealed shall not be affected hereby but shall be concluded in
accordance with the law of such repealed section or sections.

Sec. 18. This act is declared to be severable, and should
any section hereof be hereafter declared unconstitutional or
otherwise invalid, the remainder of the act shal] not he af-
fected thereby.

Approved June 2, 1927.

[No. 373.]

AN ACT to amend section twenty-five of chapter thirty of
act number three hundred fourteen of the public acts of
nineteen hundred fifteen, entitled “An act to revise and
consolidate the statutes relating to the organization and
jurisdiction of the courts of this state; the powers and
duties of such courts, and of the judges and other officers
thereof; the forms of civil actions; the time within which
civil actions and proceedings may be brought in said courts;
pleading, evidence, practice and procedure in civil actions
and proceedings in said courts; to provide remedies and
penalties for the violation of certain provisions of this act;
and to repeal all acts and parts of acts inconsistent with,
or contravening any of the provisions of this act.” being
section thirteen thousand two hundred fifty-three of the
compiled Jaws of nineteen hundred fifteen, as amended by
act number two hundred forty-three of the public acts of
nineteen hundred seventeen, and to add a new section there-
lo fo stand as section thirty-one.

The People of the State of Michigan enact:

Secrion 1. Section twenty-five of chapter thirty of act
number three hundred fourteen of the public acts of nineteen

Acts
repealed.

Proviso.

Saving
clause.
